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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTY CT OF FLORIDA

                                         CASE NO . 16-20893-CR-M ORENO


  UNITED STATES OF AM ERICA,
                                              QUESTION/NOTE FROM
                Plaintiff,                    D ELIBEM T IN G JUR Y TO
  VS.                                         TH E COURT

  M O NTY RAY GROW ,
                                              O M     DESTROY
                D efendant.




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                                           UNITED STATES DISTRICT COURT
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                                           CA SE N O. 16-20893-C R -M O REN O


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                                                  QUESTION/NOTE FROM
                   Plaintiff,                     D ELIBER AT IN G JUR Y TO
                                                  TH E COURT

  M O N TY R AY G R O W ,
                                                  X M     DESTROY
                   Defendant.
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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                     CASE N0. 16-20893-CR-M O REN O

  UNITED STATES OF AM ERICA ,
                                            QUESTION/NOTE FROM
                 Plaintiff,                 DELIBEM TIN G JUR Y TO
  VS.
                                            THE COURT
  M ONTY RAY GRO W ,
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                                     CA SE N O . 16-20893-CR -M O REN O


  UNITED STATES O F AM ERICA,
                                            QUESTIONG OTE FROM
                 Plaintiff,                 DELIBEM T IN G JURY T O
  VS.                                       TH E C O U R T

  M O N TY R AY G R O W ,
                                            X NOT DESTROY
                 Defendant.
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                                           UNITED STATES DISTRICT COURT
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                                           CA SE N O . 16-20893-C R-M O R EN O


    UN ITED STA TES O F A M ERIC A ,
                                                  QUESTION/NOTE FROM
                Plaintiff,                        D ELIBEM T IN G JUR Y T O
    VS.                                           THE COURT

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                                     UNITED STATES DISTIUCT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 16-20893-CR -M ORENO


  UNITED STATES OF AM ERICA,
                                            QUESTION/NOTE FROM
             Plaintiff,                     D ELIBER ATIN G JUR Y TO
  VS.                                       TH E COURT

  M ONTY RAY GROW ,
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                                    UN ITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO . 16-20893-CR-M ORENO


 UNITED STATES OF AM ERICA ,
                                            QUESTION/NOTE FROM
             Plaintiff,                     DE LIBER ATIN G JUR Y T O
  VS.                                       THE COURT

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